

People v Robinson (2025 NY Slip Op 03146)





People v Robinson


2025 NY Slip Op 03146


Decided on May 22, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 22, 2025

Before: Webber, J.P., Moulton, Friedman, Gesmer, Michael, JJ. 


Ind No. 783/20, 3749/19 SCI No. 70133/19|Appeal No. 4417|Case No. 2022-01019 2022-00858 2022-00859 |

[*1]The People of the State of New York, Respondent,
vMaurice Robinson, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Jan Hoth of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Julianna Sousou of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (James Burke, J.), rendered February 28, 2022,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 22, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








